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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               OCALA DIVISION

UNITED STATES OF AMERICA

vs                                                      Case No.: 5:22-cr-5-JA-PRL

GEORGE UTLEY,

                 DEFENDANT’S SENTENCING MEMORANDUM

       COMES NOW, the Defendant, GEORGE UTLEY, by and through undersigned

counsel, and pursuant 18 U.S.C. § 3553(a), hereby moves this Honorable Court to vary

below the advisory guidelines range computed in the Presentence Investigative Report

(PSR) by imposing a sentence of 15 months in the Bureau of Prisons with a three-year

term of supervised release as such a sentence is sufficient, but not greater than necessary

to comply with the purposes of sentencing. In support of this motion, Mr. Utley states

the following:

I. INTRODUCTION

       George Utley is a 56-year-old loving fiancé, father, and brother. Letting greed get

the best of him, he participated in the criminal conduct which brings him before this

Honorable Court. To very briefly summarize, this case involves Mr. Utley

misrepresenting his past personal injury information as well as his business and

settlement income in order to continue to receive disability payments from the USPS. The

total amount of compensation Mr. Utley received from the Department of Labor from

January 27, 2009, through March 17, 2019, is $740,542.38.

      Recognizing his wrongdoing, Mr. Utley accepted responsibility early in the instant
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case by agreeing to plead to an Information and admitting his guilt through a plea

agreement with the Government.

II. MOTION FOR DOWNWARD VARIANCE PURSUANT TO 18 U.S.C. § 3553(a)

       Mr. Utley respectfully moves this Honorable Court to sentence him to a 15-month

period of incarceration followed by supervised release. In light of all the factors in 18

U.S.C. § 3553(a), the advisory guideline range is greater than necessary to achieve the

purposes of sentencing in Mr. Utley’s case.

       As this Honorable Court is aware, a United States District Court is no longer

limited by the guidelines since the matrix is merely considered advisory. United States v.

Booker, 543 U.S. 220, 245-267, 125 S. Ct 738 (2005). The use of the guidelines in a roll

other than advisory violates the defendant’s Sixth Amendment rights. Booker at 244-245.

Further, there is no legal presumption that the guidelines sentence should apply. Rita v.

United States, 551 U.S. 338, 351, 127 S. Ct. 2456 (2007).

       A district court has the ability and authority to impose a sentence, merely “because

the case warrants a different sentence…” regardless of the range calculated by the

guidelines. A sentencing court may impose any sentence it deems appropriate as long as

the court properly calculates and considers the guidelines along with the sentencing

factors of 18 U.S.C. § 3553(a), before reaching its final decision. Id. District courts must

consider the following ten factors: 1) the nature and circumstances of the offense and the

history and characteristics of the defendant; 2) the need to reflect the seriousness of the

offense, to promote respect for the law, and to provide just punishment for the offense; 3)

the need for deterrence; 4) the need to protect the public; 5) the need to provide the

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defendant with needed educational and vocational training or medical care; 6) the kinds

of sentences available; 7) the Sentencing Guidelines range; 8) pertinent policy statements

of the Sentencing Commission; 9) the need to avoid unwarranted sentencing disparities;

and (10) the need to provide restitution to the victims. United States v. Talley, 431 F.3d

78. “The weight to be accorded any given §3553(a) factor is a matter committed to the

sound discretion of the district court.” United States v. Williams, 456 F.3d 1353, 1363

(11th Cir. 2006).

       As further explained below, Mr. Utley respectfully suggests that an individualized

consideration of the 18 U.S.C. § 3553(a) factors supports the imposition of a below-

guidelines sentence.

  The nature and circumstances of the offense and the history and characteristics of the
                          defendant [18 U.S.C.§ 3553(a)(1)]

        Mr. Utley is ashamed of himself for committing this crime. Admittedly, he

abused marijuana and cocaine during his lifetime, however, he has never been convicted

of a crime. Being a part of the criminal justice has brought shame not only to himself, but

to his family. Understandably, this has caused strained relationships which he hopes to

rectify and amend.

       A veteran, Mr. Utley served this country in the United States Army for two before

being honorably discharged. While in the Army, Mr. Utley worked as a Petroleum Lab

Technician. During his time in the Army, Mr. Utley’s father died suddenly from a stroke

and so he felt it best to return home to be closer to his mother and go to college.

Therefore, although he was proud to be a Soldier, Mr. Utley chose not to reenlist.


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Following in his father’s footsteps, Mr. Utley eventually went to work for the United

States Postal Service.

       Like many individuals in the criminal justice system, Mr. Utley has been

diagnosed with depression and anxiety. In addition to his mental health issues, Mr. Utley

has physical issues, including high blood pressure, stenosis of the spine, back pain, and

sleep apnea. Mr. Utley looks forward to any programs available to him in the bureau of

prisons and while on supervised release that can aid in both his past substance abuse

issues and current mental health issues.

        The need for the sentence imposed to reflect the seriousness of the offense, to
 promote respect for the law, and to provide just punishment for the offense [18 U.S.C.§
                                      3553(a)(2)(A)]

       While understanding that the general purpose of § 3553(a)(2)(A) is punitive, Mr.

Utley asks this Court to again consider that he is a non-violent, 56-year-old, first-time

offender. A guideline sentence is not necessary to promote respect for the law nor to

provide just punishment. Any amount of incarceration for a first-time offender is no slap

on the wrist. Further, while on supervised release, Mr. Utley will face many restrictions

on his liberty thus reflecting the serious nature of this crime, not to mention, the collateral

consequences of being a convicted felon.

          The need for the sentence imposed to afford adequate deterrence to criminal
                          conduct [18 U.S.C.§ 3553(a)(2)(B)]

       In 2016, the National Institute of Justice, under the U.S. Department of Justice,

published Five Things about Deterrence, which states that the certainty of law enforcement




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catching a criminal is a much greater deterrent than the punishment itself. 1 See Id. Thanks

to law enforcement efforts and the media, the message is out – if you commit a crime, you

will get caught. Sending Mr. Utley to prison will not deter others who are determined to

break the law. And, clearly Mr. Utley, as 56-year-old, non-violent offender, is deterred

from further criminal conduct.

         The need for the sentence imposed to protect the public from further crimes by the
                            defendant [18 U.S.C.§ 3553(a)(2)(C)]
                    Mr. Utley’s characteristics make him unlikely to reoffend.

        Mr. Utley’s age and zero criminal history points provide this Honorable Court

with assurance that a guideline sentence is not necessary to protect the public. See,

United States Sentencing Commission, The Effects of Aging on Recidivism Among

Federal Offenders (2017), A-44 (which shows that those in the age group of 50-59 years

and who fall in criminal history category I, have an especially low rearrest rate of 16.1%,

as compared to those, for example, in the under 30 years of age bracket whose rearrest

rate is 53% -- in the same criminal history category). 2

        Based on the Commissions own research, Mr. Utley falls into the category of

some of the least likely to reoffend statistically. This Honorable Court should not fear

that Mr. Utley will ever step foot in its courtroom, or any other, but for some respectable

purpose.

                  The Need to Provide Restitution to Victims [18 U.S.C.§ 3553(a)(7)]



1
 The National Institute of Justice Report can be found at: https://www.nij.gov/five-things/pages/deterrence.aspx
         2
           The Sentencing Commission’s report, including Appendix 44, can be found at:
https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
publications/2017/20171207_Recidivism-Age.pdf

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       Restitution is a factor in this case. Mr. Utley has the ability to pay restitution to

the Government and understands this Court will order him to do so. Of course, the less

amount of time he is incarcerated, the sooner he will be able to make restitution

payments.

III. CONCLUSION

       For all the reasons set forth above, Mr. Utley respectfully requests that this

Honorable Court sentence him to 15 months in the Bureau of Prisons followed by a

period of supervised release with conditions the Court deems appropriate. Such a

sentence is “sufficient, but not greater than necessary” to impose a just punishment upon

a 56-year-old, first-time, non-violent offender.



DATED this 13th day of May, 2022.



                                                   Respectfully Submitted,

                                                   /s/ Summer Rae Goldman
                                                   Summer Rae Goldman
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                                      CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 13th day of May, 2022, a true and correct copy of the

foregoing was furnished using the CM/ECF system with the Clerk of Court, which will send notice

of the electronic filing to the following:

       Robert Edward Bodnar, Jr.

                                                   Respectfully Submitted,

                                                   /s/ Summer Rae Goldman
                                                   Summer Rae Goldman




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